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                            UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF OREGON

In re                                               Bankruptcy Case Nos.:

15005 NW Cornell LLC; and                           19-31883-dwh11 (Lead Case)
Vahan M. Dinihanian, Jr.,
                                                    19-31886-dwh-11
                 Debtors.
                                                    Jointly Administered Under
                                                    Case No. 19-31883-dwh11

                                                    HEARING MEMORANDUM IN
                                                    SUPPORT OF CREDITOR TASHA
                                                    TEHERANI-AMI'S MOTION FOR
                                                    RELIEF FROM STAY RE: SKYLINE
                                                    PROPERTY

                                                    (237 NW Skyline Blvd., Portland, OR
                                                    97210)

                                    I.     INTRODUCTION
                 1.       On November 18, 2021, Creditor Tasha Teherani-Ami ("Creditor"), by

and through her attorneys, Tomasi Salyer Martin PC, pursuant to 11 U.S.C. § 362(d) and

Bankruptcy Rules 4001(a) and 9014, filed a Motion for Relief from Stay Re: Skyline Property

[Doc 489] (the "Motion"). The Court held the rescheduled preliminary hearing on the Motion on

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TASHA TEHERANI-AMI'S MOTION FOR RELIEF FROM STAY                             121 SW Morrison Street, Suite 1850
                                                                                  Portland, Oregon 97204
RE: SKYLINE PROPERTY                                                             Telephone: (503) 894-9900
TEHERA-B1\00615503.000                                                           Facsimile: (971) 544-7236



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December 14, 2021.          At the hearing, the Court requested the parties file simultaneously

supplemental briefing addressing two issues:

                             a. Whether an effective reorganization is in prospect within the

                                meaning of 11 U.S.C. § 362(d)(2)(B); and

                             b. The effect of 11 U.S.C. § 362(e).

                 2.       This memorandum is supported by the declaration of Eleanor A. DuBay

("DuBay Dec.") filed contemporaneously herewith and the records and files herein.

                                II.     FACTUAL BACKGROUND
                 In addition to the facts set forth in Creditor's Motion, Creditor further alleges in

support of her Motion:

                 3.       On May 19, 2021, the Court entered a Stipulated Order Regarding

Creditor Tasha Teherani-Ami's Motion for Relief from Stay Re: Cornell Property [Doc 397].

Pursuant to the terms of that order, the automatic stay as to the real property located at 15005

NW Cornell Road, Beaverton, Oregon 97006, the Cornell Property, 1 terminated effective

September 30, 2021.

                 4.       Thereafter, on October 26, 2021, in accordance with ORS 86.782(12)(a),

Creditor, as beneficiary of the Cornell Deed of Trust, continued the foreclosure of the Cornell

Property by serving a Trustee's Amended Notice of Sale. DuBay Dec., ¶ 3, Ex. 1 and 2. The

Trustee's Amended Notice of Sale set a foreclosure sale date of January 25, 2022. Id. The

Trustee's Amended Notice of Sale was received by the debtors and/or their attorneys between

October 28-29, 2021. Id., ¶ 4, Ex. 3.


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 Unless otherwise noted, capitalized terms herein have the same meaning set forth in Creditor's Motion
[Doc 489].
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                 5.       Prior to the filing of the petitions in these bankruptcy cases, both the

Cornell Property and Skyline Property were in foreclosure. See Stipulation of Undisputed Facts

and Exhibits [Doc 250], ¶ 9, Ex. 14. The trustee, Tomasi Salyer Martin PC, had already

completed all of the service required under Oregon law for the Cornell Property foreclosure,

including mailing, posting, and publishing the Trustee's Notice of Sale, prior to the

commencement of these cases. DuBay Dec., ¶ 5, Ex. 4.

                                      III.   MEMORANDUM
      A.     There is No Possible Effective Reorganization in Prospect Within the
Meaning of 11 U.S.C. § 362(d)(2)(B).

                 6.       11 U.S.C. § 362(d)(2) provides that a court shall grant relief from the

automatic stay:

                 with respect to a stay of an act against property under subsection
                 (a) of this section, if—
                     (A) the debtor does not have an equity in such property; and
                     (B) such property is not necessary to an effective
                     reorganization …

11 U.S.C. § 362(d)(2).

                 7.       At the preliminary hearing, Dinihanian alleged that an effective

reorganization is in prospect, but could not identify any plan for reorganization. The Court noted

that Dinihanian had an uphill battle in showing that an effective reorganization was not only

possible, but was imminent. Chief among the Court's concerns was that, with the ruling that the

Trust owned a 25% interest in the Cornell Property thereby reducing 15005 NW Cornell LLC's

interest in the Cornell Property to 25%, 2 the debtors no longer had a viable option for



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 Memorandum Decision on Objections to Bateman Seidel Claims and Adversary Proceedings 20-03077
and 20-03079 [Doc 508].
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reorganization. 3      And while Dinihanian claimed that there were other unidentified options

available, the only possibility outlined at the hearing was a sale under 11 U.S.C. § 363(h).

However, any plan of reorganization, whether it be a sale under § 363(h) or otherwise, is simply

not feasible in the timeframe available.

                 8.       As noted above, the foreclosure sale date for the Cornell Property is

scheduled for January 25, 2022. It is simply impossible for the debtors to file a new disclosure

statement and plan, and proceed through the objection period to confirmation, within the time

remaining before the foreclosure sale.

                 9.       Dinihanian appeared to acknowledge this inevitable impossibility and

alleged that there were purported defects in the re-noticing of the Cornell Property foreclosure.

Specifically, Dinihanian identified two issues with which he took umbrage: (1) that the

foreclosure was continued, as if uninterrupted, after the order granting the relief from stay was

effective; and (2) that the "collateral" listed in the Trustee's Amended Notice of Sale was

defective given the Court's recent ruling from a few days ago. Both of Dinihanian's contentions

are categorically wrong.

                 10.      First, ORS 86.782 provides the procedure for a non-judicial foreclosure

sale of real property. And, specifically, subsection 12 sets forth the procedures for continuing

with a foreclosure sale after a stay has been released. ORS 86.782(12) provides in relevant part:

                 (12)(a) Notwithstanding subsection (2)(a) of this section, except
                 when a beneficiary has participated in obtaining a stay, foreclosure
                 proceedings that are stayed by order of the court, by proceedings in
                 bankruptcy or for any other lawful reason shall, after release from
                 the stay, continue as if uninterrupted, if within 30 days after

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  See Second Amended Debtors' Joint Disclosure Statement Dated July 22, 2021 [Doc 401] ("the Plan
Lender may not agree to fund the Plan Loan if the Trust is granted a deed, which would result in failure of
the Plan."
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                 release the trustee sends amended notice of sale by registered or
                 certified mail to the persons listed in ORS 86.764 and 86.774(1).
                 …
                 (c) The amended notice of sale must:
                 (A) Be given at least 15 days before the amended date of sale;
                 (B) Set an amended date of sale that may be the same as the
                 original sale date, or date to which the sale was postponed,
                 provided the requirements of this paragraph and ORS 86.764 and
                 86.774 are satisfied;
                 (C) Specify the time and place for sale;
                 (D) Conform to the requirements of ORS 86.771; and
                 (E) State that the original sale proceedings were stayed and the
                 date the stay terminated.
                 …
                 (f) After a release from a stay of proceedings, the trustee or the
                 attorney for the trustee, or an agent that the trustee or the attorney
                 designates, may postpone a sale for one or more periods that total
                 not more than the greater of 60 days or the portion of the 180-day
                 period allowed for postponement under subsection (2)(a) of this
                 section that remained on the day before the stay began. A
                 postponement under this paragraph must comply with the
                 procedural and notice requirements specified in subsection (2) of
                 this section.

ORS 86.782(12) (emphasis added). 4 Here, the stay as to the Cornell Property was released on

September 30, 2021. The Trustee's Amended Notice of Sale was mailed on October 26, 2021,

fewer than 30 days after the stay was released. Thus, the beneficiary was entitled to continue the

foreclosure sale "as if uninterrupted".

                 11.      This is further supported by ORS 86.782(12)(f) which provides that a

foreclosure sale that has been scheduled after a release from a stay can be postponed the "greater

of 60 days or the portion of the 180-day period allowed for postponement under subsection (2)(a)


4
  Creditor is unable to find a single case analyzing ORS 86.782(12) and posits it is because the statute is
clear and unambiguous: a non-judicial foreclosure sale can be "continued as if uninterrupted" after the
release of a stay as long as the amended notice of sale is given within 30 days of the release being entered.
See also Valerie Athena Tomasi, Marisol Ricoy McAllister & Eleanor A. DuBay, Oregon Real Estate
Deskbook, § 23.5-11(a)(2) (2015 ed.) ("the trustee may, after release from the stay, resume the sale
proceedings in the manner provided by ORS 86.782(12)".).
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of this section that remained on the day before the stay began." 5                ORS 86.782(12)(f)

(emphasis added). Here, since the bankruptcy cases were filed prior to the original date set for

the Cornell Property foreclosure sale, the full 180-day period under ORS 86.782(2)(a) is

available in which to conduct the Cornell Property foreclosure sale.

                 12.      Dinihanian's second argument that the listing of the "collateral" in the

Trustee's Notice of Sale somehow makes the notice invalid is likewise incorrect and contrary to

Oregon law. ORS 86.771(2) requires that the Notice of Sale must "describe the property the

trust deed covers." ORS 86.782(12)(c)(D) provides that the amended Notice of Sale after a

release of stay must "conform to the requirements of ORS 86.771." Here, the Trustee's Amended

Notice of Sale correctly describes the property covered by Creditor's Deed of Trust. Notably, the

Trustee's Amended Notice of Sale is dated October 26, 2021, which was prior to the decision of

the Court that the Trust owns a 25% interest in the real property. Moreover, regardless of the

Court's decision, Creditor's Deed of Trust covers an entire 50% of the Cornell Property in

accordance with the legal description set forth therein.

                 13.      This situation is analogous to a foreclosure of multiple parcels.             For

example, borrower grants a trust deed to beneficiary covering lots 1 and 2. Borrower defaults

and beneficiary commences foreclosure on both lots 1 and 2. However, during the foreclosure

process, borrower sells or otherwise transfers lot 1 and beneficiary agrees to release that lot. Lot

1 is then partially released from the trust deed and beneficiary may complete the foreclosure of

lot 2 without having to start the foreclosure process all over again.

                 14.      This is further supported by ORS 86.782 and 86.797. ORS 86.782(1)(a)


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 ORS 86.782(2)(a) provides that "The trustee or the attorney for the trustee … may postpone the sale for
one or more periods that total not more than 180 days from the original sale date."
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provides that "the trustee may sell the property in one parcel or in separate parcels" and ORS

86.797(4)(a)(A) provides that a non-judicial foreclosure of real property does not preclude a

separate foreclosure of "other property covered by the trust deed that is the subject of the

foreclosure." Clearly, a beneficiary may choose to sell only some or part of the real property that

is secured by the trust deed for a variety of reasons and Oregon law permits the beneficiary to do

so. Here, Creditor can choose to now foreclose on just 15005 NW Cornell LLC's 25% interest in

the Cornell Property (as contemplated by the parties' initial agreement set forth in the Judgment).

To do so, Creditor can either partially release the Trust's 25% interest in the Cornell Property

prior to the foreclosure sale or simply just conduct the sale as to "one parcel" of the property

secured by the trust deed. It is not for Dinihanian to decide how Creditor, as beneficiary,

chooses to conduct the foreclosure sale.

                 15.      Dinihanian's arguments that the Cornell Property is invalid because of his

perceived flaws in the sale process are nothing more than a red herring and further attempt to

delay the inevitable. Oregon law specifically permits a non-judicial foreclosure sale to continue

"as if uninterrupted" after a stay is released. And Oregon law also merely requires that the notice

of sale include a description of the "property the trust deed covers", which is the exact

description attached to the Trustee's Amended Notice of Sale. Whether Creditor releases the

Trust's 25% interest in the Cornell Property from the foreclosure and trust deed is of no moment.

                 16.      Consequently, Dinihanian cannot avoid or delay the Cornell Property

foreclosure, scheduled for January 25, 2022.         And, thus, he cannot show that an effective

reorganization is in prospect within the meaning of 11 U.S.C. § 362(d)(2)(B). Accordingly,

Creditor is entitled to an order granting relief from stay as to the Skyline Property.


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      B.     The Court Can Issue a Determination on Creditor's Motion Now,
Notwithstanding 11 U.S.C. § 362(e), Because Dinihanian Cannot Show That an Effective
Reorganization is in Prospect.

                 17.      11 U.S.C. § 362(e) provides that

                 (1) Thirty days after a request under subsection (d) of this section
                 for relief from the stay of any act against property of the estate
                 under subsection (a) of this section, such stay is terminated with
                 respect to the party in interest making such request, unless the
                 court, after notice and a hearing, orders such stay continued in
                 effect pending the conclusion of, or as a result of, a final hearing
                 and determination under subsection (d) of this section. A hearing
                 under this subsection may be a preliminary hearing, or may be
                 consolidated with the final hearing under subsection (d) of this
                 section. The court shall order such stay continued in effect pending
                 the conclusion of the final hearing under subsection (d) of this
                 section if there is a reasonable likelihood that the party opposing
                 relief from such stay will prevail at the conclusion of such final
                 hearing. If the hearing under this subsection is a preliminary
                 hearing, then such final hearing shall be concluded not later than
                 thirty days after the conclusion of such preliminary hearing, unless
                 the 30-day period is extended with the consent of the parties in
                 interest or for a specific time which the court finds is required by
                 compelling circumstances.

                 (2) Notwithstanding paragraph (1), in a case under chapter 7, 11,
                 or 13 in which the debtor is an individual, the stay under
                 subsection (a) shall terminate on the date that is 60 days after a
                 request is made by a party in interest under subsection (d),
                 unless—
                 (A) a final decision is rendered by the court during the 60-day
                 period beginning on the date of the request; or
                 (B)such 60-day period is extended—
                 (i) by agreement of all parties in interest; or
                 (ii) by the court for such specific period of time as the court finds
                 is required for good cause, as described in findings made by the
                 court.

Creditor does not disagree that this case is under Chapter 11 and the effected debtor (Dinihanian)

is an individual. However, application of § 362(e)(2) does not prohibit the Court from holding

one or more preliminary or final hearings on Creditor's Motion. In fact, subsection (e)(2) is

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entirely silent as to a hearing requirement even though § 362(d) states that the Court shall grant

relief from the stay "after notice and a hearing". 11 U.S.C. § 362(d).

                 18.      Conducting a preliminary, or final, hearing within 30 days of filing the

Motion is not contrary to § 362(e)(2) and Grant, Konvalinka & Harrison, P.C. v. Still (In re

McKenzie), 737 F.3d 1034 (6th Cir. 2013). In In re McKenzie, the moving party argued that the

lower court was required to hold a preliminary hearing prior to entering an order that good cause

existed to extend the stay beyond 60 days under § 362(e)(2)(B)(ii). 737 F.3d at 1037-38. The

court rejected that contention stating that "no preliminary hearing was required because

McKenzie is an individual debtor" and noting that § 362(e)(2) "does not require a preliminary

hearing." Id. at 1038, citing § 362(e)(2).

                 19.      The issue now present in this proceeding is distinguishable. As noted, §

362(d) requires that a hearing be conducted in order for the Court to grant relief from the stay.

Further, § 362(e)(2) does not prohibit a preliminary hearing, a final hearing or a combination of

hearings; rather, the preliminary hearing is just not mandatory under § 362(e)(2). Notably, a

decision that § 362(e)(2) did prohibit a preliminary hearing would undermine the entire process

of relief from stay motions in Oregon since a preliminary hearing is immediately scheduled in all

Chapter 7 and 13 cases, regardless of whether the debtor is an individual, once the debtor

opposes the creditor's motion. See LBF 720.50(5)(a) ("The automatic stay will either (1) expire

30 days after the motion was filed per 11 U.S.C. § 362(e), or (2) expire 20 days after a motion

for codebtor relief is filed in chapter 12 and 13 cases per 11 U.S.C. §§ 1201(d) or 1301(d).").

                 20.      Moreover, here, it matters not whether the Court makes a determination

regarding the Creditor's Motion on the 29th day or the 59th day, the result will be the same.

Dinihanian simply cannot show that the Skyline Property is necessary for an effective
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reorganization because no reorganization is in prospect. Waiting an additional 30 days is not

going to alter that determination; and, indeed, will make it even more obvious. This is further

supported by § 362(e)(2)(A) which provides that the stay will terminate (if the Motion is

granted) once the Court issues a determination within the 60 day period and, therefore, the Court

need to wait for the 60th day to make its determination.

                 21.      As noted, the foreclosure sale of the Cornell Property is scheduled for

January 25, 2022. The 60th day following the filing of Creditor's Motion is January 17, 2022.

Regardless of when the hearing is conducted, there is just not sufficient time for the debtors to

propose a new plan and complete all of the steps required for confirmation, including the

disclosure statement objection period, the plan objection period and hearing, and/or the balloting

process. Even if the debtors were to file a plan today which included selling the entirety of the

Cornell Property in a 11 U.S.C. § 363(h) sale (as was noted in the prior hearing), that plan

process could not be completed before 15005 NW Cornell LLC's 25% interest in the Cornell

Property was lost to a foreclosure sale. And delaying a determination of Creditor's Motion

related to the Skyline Property will not change that inevitability.

                                       IV.    CONCLUSION
                 Dinihanian cannot show that the Skyline Property is necessary for an effective

reorganization because no effective reorganization is in prospect. Thus, Creditor is entitled to

entry of an order granting relief from the automatic stay under 11 U.S.C. § 362(d)(2) to permit

the Creditor to complete the non-judicial foreclosure sale and take possession of the real property

known as the Skyline Property and legally described on Exhibit A attached hereto.




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                 Dated: December 16, 2021.

                                               TOMASI SALYER MARTIN


                                               By: /s/ Eleanor A. DuBay
                                                    Eleanor A. DuBay, OSB #073755
                                                    (503) 894-9900
                                                    edubay@tomasilegal.com
                                                    Of Attorneys for Tasha Teherani-Ami




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                                          EXHIBIT A
                                        Legal Description

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF
Multnomah, STATE OF OR, AND IS DESCRIBED AS FOLLOWS:

A tract of land in Section 36, Township 1 North Range 1 West of the Willamette Meridian, in the
County of Multnomah and State of Oregon, described as follows:

Beginning at a stake 13.78 chains west and 30 feet North of the Southeast corner of said Section
36; thence West parallel with the Base Line 12.88 chains to a stake; thence North 7.76 chains to
a stake; thence East 12.88 chains to a stake; thence South 7.76 chains to a stake at the place of
beginning; and easement over the following described property:

The North 20 feet of the following described property situated in the County of Multnomah and
State of Oregon described as follows:

A tract of land in Section 36, Township 1 North, Range 1 West of the Willamette Meridian, in
the County of Multnomah and State of Oregon, described as follows:

Beginning at a point in the South line of said Section 36, North 89° 47' 15" West, 640.0 feet from
the Southeast corner of said section; running thence North 89° 47' 15" West along the South line
of said Section, 240.0 feet; thence North 0° 24' 30" East, parallel to the East line of said section,
576.3 feet; thence North 88° 31-1/2' East, 100 feet; thence North 69° 15-1/2' East, 155.85 feet;
thence South 45° 53' East, 20.87 feet to a point in the center line of Greenleaf Avenue; thence
along said center line South 27° 33' West, 73.10 feet; thence South 3° 10' East, 139.80 feet;
thence South 0° 10' East 415.96 feet to the point of beginning.




EXHIBIT A                                                                            TOMASI SALYER MARTIN
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                                                                                      Telephone: (503) 894-9900
                                                                                      Facsimile: (971) 544-7236
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                                 CERTIFICATE OF SERVICE

                 I hereby certify that on December 16, 2021 I served a copy of the foregoing

HEARING MEMORANDUM IN SUPPORT OF CREDITOR TASHA TEHERANI-AMI'S

MOTION FOR RELIEF FROM STAY RE: SKYLINE PROPERTY (237 NW Skyline

Blvd., Portland, OR 97210) by electronic means using ECF to the parties listed below:

STEPHEN P ARNOT on behalf of U.S. Trustee US Trustee, Portland
steve.arnot@usdoj.gov
CHRISTOPHER N COYLE on behalf of Defendant Eagle Holdings LLC
chris@vbcattorneys.com, ecfmail@vbcattorneys.com

JOSEPH A FIELD on behalf of Attorney Sortis Holdings, Inc.
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NICHOLAS J HENDERSON on behalf of Debtor Vahan M. Dinihanian, Jr.
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NICHOLAS J HENDERSON on behalf of Jointly Administered Debtor Vahan M. Dinihanian,
Jr.
nhenderson@portlaw.com, tsexton@portlaw.com; mperry@portlaw.com;
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GREGORY J MINER on behalf of Creditor Bateman Seidel
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CERTIFICATE OF SERVICE                                                          TOMASI SALYER MARTIN
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                                                                                  Portland, Oregon 97204
                                                                                 Telephone: (503) 894-9900
                                                                                 Facsimile: (971) 544-7236
                         Case 19-31883-dwh11   Doc 517    Filed 12/16/21
BRUCE H ORR on behalf of Defendant Tasha Teherani-Ami, in her capacity as the trustee of
the Sonja Dinihanian GST Trust DTS 1/1/11
bho@wysekadish.com, tn@wysekadish.com; drw@wysekadish.com

BRUCE H ORR on behalf of Interested Party Tasha Teherani-Ami, in her capacity as the trustee
of the Sonja Dinihanian GST Trust DTS 1/1/11
bho@wysekadish.com, tn@wysekadish.com; drw@wysekadish.com

BRUCE H ORR on behalf of Plaintiff Tasha Teherani-Ami, in her capacity as the trustee of the
Sonja Dinihanian GST Trust DTS 1/1/11
bho@wysekadish.com, tn@wysekadish.com; drw@wysekadish.com

ERICH M PAETSCH on behalf of Creditor Columbia State Bank
epaetsch@sglaw.com, ktate@sglaw.com

DOUGLAS R PAHL on behalf of Debtor 15005 NW Cornell LLC
dpahl@perkinscoie.com, nlesage@perkinscoie.com; docketpor@perkinscoie.com

DOUGLAS R PAHL on behalf of Defendant 15005 NW Cornell LLC
dpahl@perkinscoie.com, nlesage@perkinscoie.com;docketpor@perkinscoie.com

DOUGLAS R PAHL on behalf of Interested Party 15005 NW Cornell LLC
dpahl@perkinscoie.com, nlesage@perkinscoie.com; docketpor@perkinscoie.com

DOUGLAS R PAHL on behalf of Plaintiff 15005 NW Cornell LLC
dpahl@perkinscoie.com, nlesage@perkinscoie.com; docketpor@perkinscoie.com

TROY SEXTON on behalf of Debtor Vahan M. Dinihanian, Jr.
tsexton@portlaw.com, nhenderson@portlaw.com, mperry@portlaw.com, troy-sexton-
4772@ecf.pacerpro.com

TROY SEXTON on behalf of Jointly Administered Debtor Vahan M. Dinihanian, Jr.
tsexton@portlaw.com, nhenderson@portlaw.com, mperry@portlaw.com, troy-sexton-
4772@ecf.pacerpro.com

DANIEL L STEINBERG on behalf of Creditor Alexander LLC
Daniel.Steinberg@jordanramis.com, Litparalegal@jordanramis.com

DANIEL L STEINBERG on behalf of Creditor Christiana LLC
Daniel.Steinberg@jordanramis.com, Litparalegal@jordanramis.com

DANIEL L STEINBERG on behalf of Creditor Cornell Rd LLC
Daniel.Steinberg@jordanramis.com, Litparalegal@jordanramis.com

DANIEL L STEINBERG on behalf of Creditor Lillian Logan
Daniel.Steinberg@jordanramis.com, Litparalegal@jordanramis.com

US Trustee, Portland
USTPRegion18.PL.ECF@usdoj.gov




CERTIFICATE OF SERVICE                                                          TOMASI SALYER MARTIN
TEHERA-B1\00615503.000                                                       121 SW Morrison Street, Suite 1850
                                                                                  Portland, Oregon 97204
                                                                                 Telephone: (503) 894-9900
                                                                                 Facsimile: (971) 544-7236
                         Case 19-31883-dwh11   Doc 517    Filed 12/16/21
                 DATED: December 16, 2021.

                                               TOMASI SALYER MARTIN


                                               By: /s/ Eleanor A. DuBay
                                                   Eleanor A. DuBay, OSB #073755
                                                   (503) 894-9900
                                                   edubay@tomasilegal.com
                                                   Of Attorneys for Tasha Teherani-Ami




CERTIFICATE OF SERVICE                                                        TOMASI SALYER MARTIN
TEHERA-B1\00615503.000                                                     121 SW Morrison Street, Suite 1850
                                                                                Portland, Oregon 97204
                                                                               Telephone: (503) 894-9900
                                                                               Facsimile: (971) 544-7236
                         Case 19-31883-dwh11   Doc 517    Filed 12/16/21
Eleanor A. DuBay, OSB No. 073755
TOMASI SALYER MARTIN
121 SW Morrison St, Suite 1850
Portland, OR 97204
edubay@tomasilegal.com
Phone: (503) 894-9900
       Attorneys for Tasha Teherani-Ami




                             UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF OREGON

In re                                                Bankruptcy Case Nos.:

15005 NW Cornell LLC; and                            19-31883-dwh11 (Lead Case)
Vahan M. Dinihanian, Jr.,
                                                     19-31886-dwh-11
                 Debtors.
                                                     Jointly Administered Under
                                                     Case No. 19-31883-dwh11

                                                     DECLARATION OF ELEANOR A.
                                                     DUBAY IN SUPPORT OF HEARING
                                                     MEMORANDUM IN SUPPORT OF
                                                     CREDITOR TASHA TEHERANI-AMI'S
                                                     MOTION FOR RELIEF FROM STAY RE:
                                                     SKYLINE PROPERTY

                                                     (237 NW Skyline Blvd., Portland, OR
                                                     97210)

                 I, Eleanor A. DuBay, after being duly sworn, depose and say:

                 1.       I am an attorney at Tomasi Salyer Martin. I represent Creditor, Tasha

Teherani-Ami ("Creditor"), in the above-referenced action. I make this Declaration in support of

Creditor's Motion for Relief from Stay Re: Skyline Property [Doc 489].


Page 1 – DECLARATION OF ELEANOR A. DUBAY IN SUPPORT OF HEARING                     TOMASI SALYER MARTIN
MEMORANDUM IN SUPPORT OF CREDITOR TASHA TEHERANI-AMI'S MOTION                   121 SW Morrison Street, Suite 1850
                                                                                     Portland, Oregon 97204
FOR RELIEF FROM STAY RE: SKYLINE PROPERTY (237 NW Skyline Blvd.,                    Telephone: (503) 894-9900
Portland, OR 97210)                                                                 Facsimile: (971) 544-7236
TEHERA-B1\00615844.000



                         Case 19-31883-dwh11      Doc 517    Filed 12/16/21
                 2.       This Declaration is based upon my personal knowledge of the facts set

forth herein or a review of my firm's file and records related to these bankruptcy cases. In the

ordinary course of its business, my firm regularly maintains litigation files which include copies

of pleadings and briefing in cases in which it represents a party, correspondence, and other items

such as court and deposition transcripts and copies of exhibits. I have personal knowledge of my

firm's procedures for creating and maintaining pleadings files. If called upon to testify regarding

the matters set forth herein, I could confidently do so.

                 3.       On October 26, 2021, my office mailed the Trustee's Amended Notice of

Sale for the Cornell Property foreclosure. Attached hereto as Exhibit 1 is a true and correct copy

of the Affidavit of Mailing Trustee's Amended Notice of Sale. Attached hereto as Exhibit 2 is a

true and correct copy of the Trustee's Amended Notice of Sale.

                 4.       The Trustee's Amended Notice of Sale was received by the debtors and/or

their counsel on October 28 and 29, 2021. Attached hereto as Exhibit 3 is a true and correct

copy of the signed return cards for the certified mailing of the Trustee's Amended Notice of Sale.

                 5.       Prior to the commencement of these bankruptcy cases, the trustee, Tomasi

Salyer Martin PC, had already completed all of the service required under Oregon law for the

Cornell Property foreclosure, including mailing, posting, and publishing the Trustee's Notice of

Sale. Attached hereto as Exhibit 4 is a true and correct copy of the foreclosure affidavits for the

Cornell Property foreclosure.

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Page 2 – DECLARATION OF ELEANOR A. DUBAY IN SUPPORT OF HEARING                      TOMASI SALYER MARTIN
MEMORANDUM IN SUPPORT OF CREDITOR TASHA TEHERANI-AMI'S MOTION                    121 SW Morrison Street, Suite 1850
                                                                                      Portland, Oregon 97204
FOR RELIEF FROM STAY RE: SKYLINE PROPERTY (237 NW Skyline Blvd.,                     Telephone: (503) 894-9900
Portland, OR 97210)                                                                  Facsimile: (971) 544-7236
TEHERA-B1\00615844.000



                         Case 19-31883-dwh11       Doc 517    Filed 12/16/21
                 I HEREBY DECLARE THAT THE ABOVE STATEMENTS ARE TRUE TO

THE BEST OF MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND THAT IT

IS MADE FOR USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR

PERJURY.
                 Dated: December 16, 2021.

                                               By: /s/ Eleanor A. DuBay
                                                   Eleanor A. DuBay, OSB #073755
                                                   (503) 894-9900
                                                   edubay@tomasilegal.com
                                                   Of Attorneys for Tasha Teherani-Ami




Page 3 – DECLARATION OF ELEANOR A. DUBAY IN SUPPORT OF HEARING                TOMASI SALYER MARTIN
MEMORANDUM IN SUPPORT OF CREDITOR TASHA TEHERANI-AMI'S MOTION              121 SW Morrison Street, Suite 1850
                                                                                Portland, Oregon 97204
FOR RELIEF FROM STAY RE: SKYLINE PROPERTY (237 NW Skyline Blvd.,               Telephone: (503) 894-9900
Portland, OR 97210)                                                            Facsimile: (971) 544-7236
TEHERA-B1\00615844.000



                         Case 19-31883-dwh11   Doc 517    Filed 12/16/21
  AFTER RECORDING RETURN TO:

   Eleanor A. DuBay
   Tomasi Salyer Martin
   121 SW Morrison Street, Suite 1850
   Portland, OR 97204




          AFFIDAVIT OF MAILING TRUSTEE'S AMENDED NOTICE OF SALE

   ST A TE OF OREGON              )
                                  ) ss
   County of Multnomah            )

                 I, Megan Holley, Legal Assistant at Tomasi Salyer Martin, being first duly
   sworn, depose, say and certify that:

                  At all times mentioned herein, I was and now am a resident of the State of
   Oregon, a competent person over the age of eighteen years, and not the beneficiary or the
   beneficiary's successor in interest named in the attached original Trustee's Amended
   Notice of Sale.

                     I gave notice of the sale of the real property described in the attached
   original Trustee's Amended Notice of Sale by mailing copies thereof by both first class
   and certified mail, with return receipt requested, to each of the following-named persons
   ( or their legal representatives, where so indicated) at their respective last known addresses,
   to-wit:

   Occupants and/or Tenants                       Vahan M. Dinihanian
   15005 NW Cornell Road                          23 7 NW Skyline Blvd.
   Beaverton, OR 97006                            Portland, OR 97210

   Vahan M. Dinihanian                            Vahan M. Dinihanian
   c/o Daniel C. Lorenz, Attorney                 c/o Nicholas Henderson
   521 SW Clay                                    Motschenbacher & Blattner LLP
   Portland, OR 97201                             117 SW Taylor St., Ste. 300
                                                  Portland, OR 97204




   AFFIDAVIT OF MAILING TRUSTEE'S AMENDED NOTICE OF SALE                                   PAGE]
   TEI-IERA-Fl\00605425.000




Exhibit 1
Page 1 of 2              Case 19-31883-dwh11      Doc 517     Filed 12/16/21
   Vahan M. Dinihanian                           15005 NW Cornell LLC
   15005 NW Cornell Road                         c/o Vahan Dinihanian, Registered Agent
   Beaverton, OR 97006                           237 NW Skyline Blvd.
                                                 Portland, OR 97210

   15005 NW Cornell LLC                          Cornell Rd., LLC
   c/o Doug Pahl, Attorney                       c/o Lillian R. Logan, Registered Agent
   Perkins Coie LLP                              19830 NW Dixie Mt. Rd.
   1120 NW Couch 10th Floor                      North Plains, OR 97133
   Portland, OR 97209

   Christiana LLC                                Alexander LLC
   c/o Lillian R. Logan, Registered Agent        c/o Lillian R. Logan, Registered Agent
   19830 NW Dixie Mt. Rd.                        19830 NW Dixie Mt. Rd.
   North Plains, OR 97133                        North Plains, OR 97133


   Chandler & Newville Inc.                      Cornell Rd., LLC
                                                 Christiana LLC
   Attn: Jeffrey A. Newville, President
                                                 Alexander LLC
   20508 SW Roy Rogers Rd., Suite 147
                                                 c/o Daniel Steinberg, Attorney
   Sherwood, OR 97140
                                                 Jordan Ramis PC
                                                 2 Centerpointe Dr. 6th Floor
                                                 Lake Oswego, OR 97035

              Each of the notices so mailed was a true copy of the original Trustee's
   Amended Notice of Sale. Each such copy was mailed in a sealed envelope, with postage
   thereon fully prepaid, and was deposited by me in the United States Post Office at
   Portland, Oregon, on October        1\Q.,
                                         2021. With respect to each person listed above, one
   such notice was mailed by first class mail to the address indicated, and another such notice
   was mailed by certified mail with return receipt requested. Each such notice was mailed
   after the Notice of Default and Election to Sell was_zec. orded ani at                lpl
                                                                                          . · ···  st. 0 days before
                                                                                                    J
                                                                                                    -2
                                                                                                    . ·




   the Trustee conducts the sale.                        .\-,. \            (~.•;;r"':
                                                              ...~--~·-~
                                                        / ,,,..             -•'"'·~-~ -- -·-.,-"




                    OFFICIAL SEAL
               Keeley Siegman Greene
             NOTARY PUBLIC - OREGON
             COMMISSION NO. 1010459
    MY COMMISSIO~~~arch 24, 2025




   AFFIDAVIT OF MAILING TRUSTEE'S AMENDED NOTICE OF SALE                                                      PAGE2
   TEHERA-FJ\00605425.000




Exhibit 1
Page 2 of 2            Case 19-31883-dwh11      Doc 517            Filed 12/16/21
                       TRUSTEE'S AMENDED NOTICE OF SALE
                 Pursuant to ORS 86.705, et seq. and ORS 79.0601, et seq.
      (After Release from Stay by Order for Relief Dated May 19, 2021 and Effective
                                  September 30, 2021)

                Reference is made to a certain trust deed ("Trnst Deed") made, executed and
 delivered by 15005 NW Cornell LLC, an Oregon limited liability company, as grantor, to
 First American Title Company of Oregon, as trustee, in favor of Tasha L. Dinihanian, as
 beneficiary, dated February 1, 2016, and recorded on Febrnary 8, 2016, as Recording No.
 2016-008669, in the mortgage records of Washington County, Oregon. Tasha L. Dinihanian
 is now known as Tasha Teherani-Ami.

                 The Trust Deed covers the following described real property ("Property")
 situated in said county and state, to-wit:

                  See Exhibit A attached hereto and incorporated herein.

                There are defaults by the grantor or other person owing an obligation, the
 performance of which is secured by the Trust Deed, with respect to provisions therein which
 authorize sale in the event of default of such provision; the defaults for which foreclosure is
 made is grantor's failure to pay when due the following sums:

                 Arrearage in the sum of $3,072,300.38 as of October 25, 2021, plus additional
 payments, property expenditures, taxes, liens, assessments, insurance, late fees, attorney's and
 trustee's fees and costs, and interest due at the time of reinstatement or sale.

                By reason of said defaults, the beneficiary has declared all sums owing on the
 obligations secured by said Trust Deed immediately due and payable, said sums being the
 following, to-wit:

                 Payoff in the sum of $3,072,300.38 as of October 25, 2021, plus taxes, liens,
 assessments, property expenditures, insurance, accruing interest, late fees, attorney's and
 trustee's fees and costs incurred by beneficiary or its assigns.

                 The Notice of Default and original Trustee's Notice of Sale given pursuant
 thereto stated that the property would be sold on June 20, 2019, at the hour of 11:00 a.m., in
 accord with the standard of time established by ORS 187 .110, at Outside the Front
 Entrance of the Washington County Courthouse, 145 N.E. 2nd Avenue, Hillsboro,
 Oregon; however, subsequent to the recording of the Notice of Default, the original sale
 proceedings were stayed by order of the court or by proceedings under the National
 Bankrnptcy Act or for other lawful reasons. The beneficiary did not participate in obtaining
 such stay. Such stay was terminated September 30, 2021.

                  WHEREFORE, notice hereby is given that the undersigned trustee will on
 January 25, 2022, at the hour of 11:00 a.m., in accord with the standard of time established
 by ORS 187.110, at the following place: Outside the Front Entrance of the Washington
 TRUSTEE'S AMENDED NOTICE OF SALE                                                        PAGE   1
 TEHERA-Fl\00605423.000




Exhibit 2
Page 1 of 7           Case 19-31883-dwh11        Doc 517     Filed 12/16/21
 County Courthouse, 145 N.E. 2nd Avenue, Hillsboro, Oregon, sell at public auction to the
 highest bidder for cash the interest in the above-described Property, which the grantor had or
 had power to convey at the time of the execution by grantor of the said Trust Deed, together
 with any interest which the grantor or grantor's successors in interest acquired after the
 execution of the Trust Deed, to satisfy the obligations thereby secured and the costs and
 expenses of sale, including a reasonable charge by the trustee.

                Notice is further given that any person named in ORS 86.778 has the right, at
 any time prior to five days before the date last set for the sale, to have this foreclosure
 proceeding dismissed and the Trust Deed reinstated by payment to the beneficiary of the
 entire amount then due ( other than such portion of the principal as would not then be due had
 no default occurred) and by curing any other default complained of herein that is capable of
 being cured by tendering the performance required under the obligation or Trust Deed, and in
 addition to paying said sum or tendering the performance necessary to cure the default, by
 paying all costs and expenses actually incurred in enforcing the obligation and Trust Deed,
 together with trustee's and attorney's fees not exceeding the amounts provided by said ORS
 86.778.

                 In construing this notice, the singular includes the plural, the word "grantor"
 includes any successor in interest to the grantor as well as any other person owing an
 obligation, the performance of which is secured by said Trust Deed, and the words "trustee"
 and "beneficiary" include their respective successors in interest, if any.

                 Without limiting the trustee's disclaimer of representations or warranties,
 Oregon law requires the trustee to state in this notice that some residential property sold at a
 trustee's sale may have been used in manufacturing methamphetamines, the chemical
 components of which are known to be toxic. Prospective purchasers of residential property
 should be aware of this potential danger before deciding to place a bid for this property at the
 trustee's sale.

                The NOTICE TO RESIDENTIAL TENANTS, attached hereto as
 Exhibit B, is incorporated herein by reference.

 DA TED: Octoberdk, 2021.

                                                Eleanor A. DuBay,
                                                Authorized By:
                                                Tomasi Salyer Martin PC, Successor Trustee
                                                121 SW Morrison, Suite 1850
                                                Portland, OR 97204
                                                Phone: 503-894-9900; fax: 971-544- 7236




 TRUSTEE'S AMENDED NOTICE OF SALE                                                        PAGE2
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Exhibit 2
Page 2 of 7               Case 19-31883-dwh11    Doc 517     Filed 12/16/21
                                          EXHIBIT A
                                        Legal Description

 THE LAND REFERRED TO HEREIN BELOW IS SITU A TED IN THE COUNTY OF
 Washington, STATE OF OR, AND IS DESCRIBED AS FOLLOWS:

 AN UNDIVIDED 50% INTEREST IN THE FOLLOWING DESCRIBED PROPERTY:

 PARCEL I:

 A tract of land located in the Southeast one-quarter of Section 29 and the Northeast one-
 quarter of Section 32, Section 29, Township 1 North, Range 1 West of the Willamette
 Meridian, in the County of Washington and State of Oregon, being more particularly
 described as follows:

 Beginning at a point in the center of the County Road 1162.85 feet West and 869.11 feet
 South of the Northeast comer of said Section 32; thence N01ih 1485.4 feet; thence East
 182.85 feet; thence South 655 feet; thence Easterly 661.8 feet; thence South 1100 feet to the
 center of the County Road; thence Northwesterly, along the center of the County Road, 173.5
 feet; thence Northwesterly, along the center of the County Road, 240 feet; thence
 Northwesterly, along said County Road, 551.35 feet to the point of beginning.

 TOGETHER WITH that portion of the vacated County Road which inured thereto by
 Resolution and Order No. 95-35, recorded April 13, 1995 as Fee No. 95025673.

 ALSO TOGETHER WITH that portion described in Bargain and Sale Deed recorded April
 13, 1995 as Fee No. 95025675.

 EXCEPTING THEREFROM that portion dedicated for right of way purposes by Dedication
 Deed recorded August 29, 1994 as Fee No. 94079706.

 ALSO EXCEPTING THEREFROM that portion conveyed to Washington County by
 Quitclaim Deed recorded April 13, 1995 as Fee No. 95025674.

 FURTHER EXCEPTING THEREFROM any portion lying within the boundaries of NW
 Cornell Road.

 PARCEL II:

 A tract of land located in the Southeast one-quarter of Section 29 and the Northeast one-
 quarter of Section 32, Section 29, Township 1 North, Range l West of the Willamette
 Meridian, in the County of Washington and State of Oregon, being more particularly
 described as follows:

 Beginning in the center of the County Road, 1748.41 feet West and 875.55 feet South of the
 Northeast corner of said Section 32; thence North 1490.7 feet; thence Easterly 585.56 feet;

 TRUSTEE'S AMENDED NOTICE OF SALE                                                     PAGE3
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Exhibit 2
Page 3 of 7               Case 19-31883-dwh11   Doc 517     Filed 12/16/21
 thence South 1485 .4 feet to the center of the County Road; thence Westerly, along the center
 of the County Road 585.56 feet to the point of beginning.

 EXCEPTING THEREFROM that portion dedicated for right of way purposes by Dedication
 Deed recorded August 29, 1994 as Fee No. 94079706.

 FURTHER EXCEPTING THEREFROM that portion acquired by State of Oregon, by and
 through its Department of Transportation in Stipulated Final Judgment of Washington County
 Case No. C90-0308CV, being recorded Febrnary 22, 1996 as Fee No. 96015341 and further
 relinquished to Washington County, a political subdivision of the State of Oregon, by and
 through its Elected Officials in Relinquishment Deed recorded October 15, 2009 as Fee No.
 2009-091411.

 AND FURTHER EXCEPTING THEREFROM any portion lying within the boundaries of
 NW Cornell Road.

 PARCEL III:

 A tract of land located in the Southeast one-quarter of Section 29 and the Northeast one-
 quarter of Section 32, Section 29, Township 1 North, Range 1 West of the Willamette
 Meridian, in the County of Washington and State of Oregon, being more particularly
 described as follows:

 All that portion of the following described tract lying West of the West line of the Bonneville
 Transmission Line right-of-way:

 Beginning at the common corner of Sections 28, 29, 32 and 33 in Township 1 North, Range 1
 West of the Willamette Meridian; thence West 318.2 feet; thence South 1100 feet to the
 center of the County Road; thence Southeasterly, along the center of the County Road, 426.5
 feet; thence Easterly 3 7 5 .5 feet to a point 10 feet West of and 4 feet North of the intersection
 of the County Roads; thence North on County Road 1350 feet; thence West 422.5 feet to the
 point of beginning.

 EXCEPTING THEREFROM any portion lying within the boundaries of NW Cornell Road.




 TRUSTEE'S AMENDED NOTICE OF SALE                                                           PAGE4
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Exhibit 2
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                                      EXHIBITB
                           NOTICE TO RESIDENTIAL TENANTS

                 The property in which you are living is in foreclosure. A foreclosure sale is
 scheduled for January 25, 2022. The date of this sale may be postponed. Unless the lender
 that is foreclosing on this property is paid before the sale date, the foreclosure will go through
 and someone new will own this property. After the sale, the new owner is required to provide
 you with contact information and notice that the sale took place.

                The following information applies to you only if you are a bona fide tenant
 occupying and renting this property as a residential dwelling under a legitimate rental
 agreement. The information does not apply to you if you own this property or if you are not a
 bona fide residential tenant.

                 If the foreclosure sale goes through, the new owner will have the right to
 require you to move out. Before the new owner can require you to move, the new owner must
 provide you with written notice that specifies the date by which you must move out. If you do
 not leave before the move-out date, the new owner can have the sheriff remove you from the
 property after a court hearing. You will receive notice of the court hearing.

                              PROTECTION FROM EVICTION

 IF YOU ARE A BONA FIDE TENANT OCCUPYING AND RENTING THIS
 PROPERTY AS A RESIDENTIAL DWELLING, YOU HA VE THE RIGHT TO
 CONTINUE LIVING IN THIS PROPERTY AFTER THE FORECLOSURE SALE
 FOR:

          1) 60 DAYS FROM THE DA TE YOU ARE GIVEN A WRITTEN
          TERMINATION NOTICE, IF YOU HA VE A FIXED TERM LEASE; OR
          2) AT LEAST 30 DAYS FROM THE DA TE YOU ARE GIVEN A WRITTEN
          TERMINATION NOTICE, IF YOU HAVE A MONTH-TO-MONTH OR
          WEEK-TO-WEEK RENTAL AGREEMENT.

                If the new owner wants to move in and use this property as a primary
 residence, the new owner can give you written notice and require you to move out after 30
 days, even though you have a fixed term lease with more than 30 days left.

                You must be provided with at least 30 days' written notice after the foreclosure
 sale before you can be required to move.

                A bona fide tenant is a residential tenant who is not the borrower (property
 owner) or a child, spouse or parent of the borrower, and whose rental agreement:
                • Is the result of an arm's-length transaction;



 TRUSTEE'S AMENDED NOTICE OF SALE                                                          PAGES
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Exhibit 2
Page 5 of 7            Case 19-31883-dwh11       Doc 517      Filed 12/16/21
                     •    Requires the payment of rent that is not substantially less than fair market
                          rent for the property, unless the rent is reduced or subsidized due to a
                          federal, state or local subsidy; and
                     •    Was entered into prior to the date of the foreclosure sale.

                                   ABOUT YOUR TENANCY
                          BETWEEN NOW AND THE FORECLOSURE SALE:
                                          RENT

            YOU SHOULD CONTINUE TO PAY RENT TO YOUR LANDLORD
 UNTIL THE PROPERTY IS SOLD OR UNTIL A COURT TELLS YOU OTHERWISE. IF
 YOU DO NOT PAY RENT, YOU CAN BE EVICTED. BE SURE TO KEEP PROOF OF
 ANY PAYMENTS YOU MAKE.

                                           SECURITY DEPOSIT

                You may apply your security deposit and any rent you paid in advance against
 the current rent you owe your landlord as provided in ORS 90.367. To do this, you must
 notify your landlord in writing that you want to subtract the amount of your security deposit
 or prepaid rent from your rent payment. You may do this only for the rent you owe your
 current landlord. If you do this, you must do so before the foreclosure sale. The business or
 individual who buys this property at the foreclosure sale is not responsible to you for any
 deposit or prepaid rent you paid to your landlord.

                                      ABOUT YOUR TENANCY
                                   AFTER THE FORECLOSURE SALE

                 The new owner that buys this property at the foreclosure sale may be willing to
 allow you to stay as a tenant instead of requiring you to move out after 90 days or at the end
 of your fixed term lease. After the sale, you should receive a written notice informing you that
 the sale took place and giving you the new owner's name and contact information. You
 should contact the new owner if you would like to stay. If the new owner accepts rent from
 you, signs a new residential rental agreement with you or does not notify you in writing
 within 30 days after the date of the foreclosure sale that you must move out, the new owner
 becomes your new landlord and must maintain the property. Otherwise:

                      •   You do not owe rent;
                      •   The new owner is not your landlord and is not responsible for maintaining
                          the property on your behalf; and
                      •   You must move out by the date the new owner specifies in a notice to you.

             The new owner may offer to pay your moving expenses and any other costs or
 amounts you and the new owner agree on in exchange for your agreement to leave the

 TRUSTEE'S AMENDED NOTICE OF SALE                                                               PAGE6
 TEHERA-F I \006054 23. 000




Exhibit 2
Page 6 of 7                   Case 19-31883-dwh11      Doc 517      Filed 12/16/21
 premises in less than 30 or 60 days. You should speak with a lawyer to fully understand your
 rights before making any decisions regarding your tenancy.

            IT IS UNLAWFUL FOR ANY PERSON TO TRY TO FORCE YOU TO
 LEA VE YOUR DWELLING UN IT WITHOUT FIRST GIVING YOU WRITTEN NOTICE
 AND GOING TO COURT TO EVICT YOU. FOR MORE INFORM ATION ABOUT YOUR
 RIGHTS, YOU SHOULD CONSULT A LAWYER. If you believe you need legal assistance,
 contact the Oregon State Bar and ask for the lawyer referral service. Contact information for
 the Oregon State Bar is included with this notice. If you do not have enough money to pay a
 lawyer and are otherwise eligible, you may be able to receive legal assistance for free.
 Information about whom to contact for free legal assistance is included with this notice.

 HOW TO FIND A LA WYER: If you need help finding a lawyer, you may call the Oregon
 State Bar's Lawyer Referral Service at (503) 684-3763, or toll free in Oregon at (800) 452-
 7636, or you may visit its website at www.osbar.org. Legal assistance may be available if you
 have a low income and meet federal poverty guidelines. For more information and a directory
 of legal aid programs, go to vvww.oregonlawhelp.org.




 TRUSTEE'S AMENDED NOTICE OF SALE                                                     PAGE7
 TEHERA-Fl \00605423.000




Exhibit 2
Page 7 of 7            Case 19-31883-dwh11     Doc 517     Filed 12/16/21
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, 1. Article Addressed to:
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i       Vahan M Dinihanian
        c/o Daniel C. Lorenz, Attorney
        521 SW Clay
        Portland, OR 97201                                                                                     3. Service Type:
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                                                                                                                                      Reference Information

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:2. Certified Mail (Form 3800) Article Number                                                                                 EAD - TN OS-Amended 10/26
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                      Return Receipt (Form 3811) Barcode



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     1. Article Addressed to:
           15005 NW Cornell LLC
           c/o Doug Pahl, Attorney
           Perkins Coie LLP
           1120 NW Couch 10th Floor                                                                              3. Service Type:
           Portland, OR 97209                                                                                    £Xl   Certified Mail
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     PS Form 3811, Facsimile, July2015                                                                                                                Domestic Return Rec




               Exhibit 3
               Page 1 of 2                                                        Case 19-31883-dwh11                                     Doc 517            Filed 12/16/21
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                         c/o Nicholas Henderson
                         Motschenbacher & Blattner LLP
                         I 17 SW Taylor St., Ste. 300
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                                               Return Receipt (Form 3811) Barcode
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                         9590 9266 9904~?181 0560 96                                                                                                                                                                                                ss different from item 1?   D Yes
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, 1. Article'Addressed to:
                         Vahan M Dinihanian
                         237 NW Skyline Blvd.
                         Portland, OR 97210
                                                                                                                                                                                                                           3. Service Type:
                                                                                                                                                                                                                           IXJ   Certified Mail
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 2. Certified Mail (Form 3800}Article Number                                                                                                                                                                                              EAD-
                         9414 7266 9904 2181 0560 93
     PS Form 3811, Facsimile, July 2015                                                                                                                                                                                                                          Domestic Return Receipt 1.




                                                            Exhibit 3
                                                            Page 2 of 2                                                                                                          Case 19-31883-dwh11                                                      Doc 517               Filed 12/16/21
  After Recording Return To:
  Tomasi Salyer Martin [EAD]
  121 SW Morrison, Suite 1850
  Portland, OR 97204




                       AFFIDAVIT OF MAILING TRUSTEE'S NOTICE OF SALE

  STATE OF OREGON                  )
                                   ) ss
  County of Multnomah              )

                    I, Keeley Siegman, Administrative Support Specialist at Tomasi Salyer Martin,
  being first duly sworn, depose, say and certify that:

                   At all times mentioned herein, I was and now am a resident of the State of Oregon,
  a competent person over the age of eighteen years, and not the beneficiary or the beneficiary's
  successor in interest named in the attached original Trustee's Notice of Sale.

                    I gave notice of the sale of the real property described in the attached original
  Trustee's Notice of Sale by mailing copies thereof by both first class and certified mail with return
  receipt requested to each of the following named persons ( or their legal representatives, where so
  indicated) at their respective last known addresses, to-wit:

  Occupants and/or Tenants                           15005 NW Cornell LLC
  15005 NW Cornell Road                              c/o Vahan Dinihanian, Registered Agent
  Beaverton, OR 97006                                23 7 NW Skyline Blvd.
                                                     Portland, OR 97210

  V ahan M. Dinihanian                              Vahan M. Dinihanian
  237 NW Skyline Blvd.                              15005 NW Cornell Road
  Portland, OR 97210                                Beaverton, OR 97006

  Cornell Rd., LLC                                  Christiana LLC
  c/o Lillian R. Logan, Registered Agent            c/o Lillian R. Logan, Registered Agent
  19830 NW Dixie Mt. Rd.                            19830 NW Dixie Mt. Rd.
  North Plains, OR 97133                            North Plains, OR 97133

  Alexander LLC                                     Vahan M. Dinihanian
  c/o Lillian R. Logan, Registered Agent            Daniel C. Lorenz, Attorney
  19830 NW Dixie Mt. Rd.                            521 SW Clay
  North Plains, OR 97133                            Portland, OR 97201

                  Each of the notices so mailed was a true copy of the original Trustee's Notice of
  Sale. Each such copy was mailed in a sealed envelope, with postage thereon fully prepaid, and was
  deposited by me in the United States Post Office at Portland, Oregon, on January q_ '·\, 2019.
  With respect to each person listed above, one such notice was mailed by first class mail to the

  AFFIDAVIT OF MAILING TRUSTEE'S NOTICE OF SALE                                                PAGE 1
  TEHERA-Fl \00444351.000




Exhibit 4
Page 1 of 13            Case 19-31883-dwh11         Doc 517       Filed 12/16/21
  address indicated, and another such notice was mailed by certified mail with return receipt
  requested. Each such notice was mailed after the Notice of/Default and Election to Sell was
  recorded and at least 120 days before the Trustee cqilduct,S• tht/~a'le.                   (::)         ,
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                                                                         teeley Siegman, I          L":,"·,.. ., / .
                                                                         fo\dministrative Sup ort Specialist'
                                                                                                                       -rt./1
           SUBSCRIBED AND SWORN to before me this~ day of January 2019.


                   OFFICIAL STAMP
                 JASMINE RAMIG                        ,a•• .. •'

                                               ,,,- ,. _,.,...~,-~
                                                  .
                                                                      -N6iary Public - State of Oregon
               NOTARY PUBLIC-OREGON
               COMMISSION NO. 964161
         MY COMMISSION EXPIRES JULY 05, 2021




  AFFIDAVIT OF MAILING TRUSTEE'S NOTICE OF SALE                                                                                                         PAGE2
  TEHERA-Fl \00444351.000




Exhibit 4
Page 2 of 13            Case 19-31883-dwh11                                 Doc 517                                        Filed 12/16/21
                               TRUSTEE'S NOTICE OF SALE

                Reference is made to a certain trust deed ("Tmst Deed") made, executed and
 delivered by 15005 NW Cornell LLC, an Oregon limited liability company, as grantor, to
 First American Title Company of Oregon, as trustee, in favor of Tasha L. Dinihanian, as
 beneficiary, dated Febrnary 1, 2016, and recorded on Febrnary 8, 2016, as Recording No.
 2016-008669, in the mortgage records of Washington County, Oregon. Tasha L. Dinihanian
 is now known as Tasha Teherani-Ami.

                 The Trust Deed covers the following described real property ("Property")
 situated in said county and state, to-wit:

                 See Exhibit A attached hereto and incorporated herein.

                There are defaults by the grantor or other person owing an obligation, the
 performance of which is secured by the Trust Deed, with respect to provisions therein which
 authorize sale in the event of default of such provision; the defaults for which foreclosure is
 made is grantor's failure to pay when due the following sums:

                 Arrearage in the sum of $2,443,591.64 as of January 23, 2019, plus additional
 payments, property expenditures, taxes, liens, assessments, insurance, late fees, attorney's and
 trustee's fees and costs, and interest due at the time ofreinstatement or sale.

                By reason of said defaults, the beneficiary has declared all sums owing on the
 obligations secured by said Trust Deed immediately due and payable, said sums being the
 following, to-wit:

                 Payoff in the sum of $2,443,591.64 as of January 23, 2019, plus taxes, liens,
 assessments, property expenditures, insurance, accruing interest, late fees, attorney's and
 trustee's fees and costs incurred by beneficiary or its assigns.

                WHEREFORE, notice hereby is given that the undersigned trustee will on
 June 20, 2019, at the hour of 11:00 a.m., in accord with the standard of time established by
 ORS 187 .110, at the following place: Outside the Front Entrance of the Washington
 County Courthouse, 145 N.E. 2nd Avenue, Hillsboro, Oregon, sell at public auction to the
 highest bidder for cash the interest in the above-described Property, which the grantor had or
 had power to convey at the time of the execution by grantor of the said Trust Deed, together
 with any interest which the grantor or grantor's successors in interest acquired after the
 execution of the Trust Deed, to partially satisfy the obligations thereby secured and the costs
 and expenses of sale, including a reasonable charge by the trustee.

                Notice is further given that any person named in ORS 86.778 has the right, at
 any time prior to five days before the date last set for the sale, to have this foreclosure
 proceeding dismissed and the Trust Deed reinstated by payment to the beneficiary of the
 entire amount then due ( other than such portion of the principal as would not then be due had
 no default occurred) and by curing any other default complained of herein that is capable of
 TRUSTEE'S NOTICE OF SALE                                                                 PAGE 1
 TEI-IERA-Fl 100444356.000




Exhibit 4
Page 3 of 13         Case 19-31883-dwh11         Doc 517     Filed 12/16/21
 being cured by tendering the performance required under the obligation or Trust Deed, and in
 addition to paying said sum or tendering the performance necessary to cure the default, by
 paying all costs and expenses actually incurred in enforcing the obligation and Trust Deed,
 together with trustee's and attorney's fees not exceeding the amounts provided by said ORS
 86.778.

                 In construing this notice, the singular includes the plural, the word "grantor"
 includes any successor in interest to the grantor as well as any other person owing an
 obligation, the performance of which is secured by said Trust Deed, and the words "trustee"
 and "beneficiary" include their respective successors in interest, if any.

                 Without limiting the trustee's disclaimer of representations or warranties,
 Oregon law requires the trustee to state in this notice that some residential property sold at a
 trustee's sale may have been used in manufacturing methamphetamines, the chemical
 components of which are known to be toxic. Prospective purchasers of residential property
 should be aware of this potential danger before deciding to place a bid for this property at the
 trustee's sale.

                The NOTICE TO RESIDENTIAL TENANTS, attached hereto as
 Exhibit B, is incorporated herein by reference.

 DATED: January    ()3 , 2019.
                                                eanor A. DuBay, OSB #
                                              Authorized By:
                                              Tomasi Salyer Martin PC, Successor Trustee
                                              121 SW Morrison, Suite 1850
                                              Portland, OR 97204
                                              Phone: 503-894-9900; fax: 971-544-7236




 TRUSTEE'S NOTICE OF SALE                                                                 PAGE2
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Exhibit 4
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                                        EXHIBIT A
                                      Legal Description

 THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF
 Washington, STATE OF OR, AND IS DESCRIBED AS FOLLOWS:

 AN UNDIVIDED 50% INTEREST IN THE FOLLOWING DESCRIBED PROPERTY:

 PARCEL I:

 A tract of land located in the Southeast one-quarter of Section 29 and the Northeast one-
 quarter of Section 32, Section 29, Township 1 North, Range 1 West of the Willamette
 Meridian, in the County of Washington and State of Oregon, being more particularly
 described as follows:

 Beginning at a point in the center of the County Road 1162. 85 feet West and 869 .11 feet
 South of the Northeast comer of said Section 32; thence North 1485.4 feet; thence East
 182.85 feet; thence South 655 feet; thence Easterly 661.8 feet; thence South 1100 feet to the
 center of the County Road; thence Northwesterly, along the center of the County Road, 173.5
 feet; thence Northwesterly, along the center of the County Road, 240 feet; thence
 Northwesterly, along said County Road, 551.35 feet to the point of beginning.

 TOGETHER WITH that portion of the vacated County Road which inured thereto by
 Resolution and Order No. 95-35, recorded April 13, 1995 as Fee No. 95025673.

 ALSO TOGETHER WITH that portion described in Bargain and Sale Deed recorded April
 13, 1995 as Fee No. 95025675.

 EXCEPTING THEREFROM that portion dedicated for right of way purposes by Dedication
 Deed recorded August 29, 1994 as Fee No. 94079706.

 ALSO EXCEPTING THEREFROM that portion conveyed to Washington County by
 Quitclaim Deed recorded April 13, 1995 as Fee No. 95025674.

 FURTHER EXCEPTING THEREFROM any portion lying within the boundaries of NW
 Cornell Road.

 PARCEL II:

 A tract of land located in the Southeast one-quarter of Section 29 and the Northeast one-
 quarter of Section 32, Section 29, Township 1 North, Range 1 West of the Willamette
 Meridian, in the County of Washington and State of Oregon, being more particularly
 described as follows:

Beginning in the center of the County Road, 1748.41 feet West and 875.55 feet South of the
Northeast comer of said Section 32; thence North 1490.7 feet; thence Easterly 585.56 feet;

 TRUSTEE'S NOTICE OF SALE                                                              PAGE3
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Exhibit 4
Page 5 of 13         Case 19-31883-dwh11       Doc 517     Filed 12/16/21
 thence South 1485.4 feet to the center of the County Road; thence Westerly, along the center
 of the County Road 585.56 feet to the point of beginning.

 EXCEPTING THEREFROM that portion dedicated for right of way purposes by Dedication
 Deed recorded August 29, 1994 as Fee No. 94079706.

 FURTHER EXCEPTING THEREFROM that portion acquired by State of Oregon, by and
 through its Department of Transportation in Stipulated Final Judgment of Washington County
 Case No. C90-0308CV, being recorded February 22, 1996 as Fee No. 96015341 and further
 relinquished to Washington County, a political subdivision of the State of Oregon, by and
 through its Elected Officials in Relinquishment Deed recorded October 15, 2009 as Fee No.
 2009-091411.

 AND FURTHER EXCEPTING THEREFROM any portion lying within the boundaries of
 NW Cornell Road.

 PARCEL III:

 A tract of land located in the Southeast one-quarter of Section 29 and the Northeast one-
 quarter of Section 32, Section 29, Township 1 North, Range 1 West of the Willamette
 Meridian, in the County of Washington and State of Oregon, being more particularly
 described as follows:

 All that portion of the following described tract lying West of the West line of the Bonneville
 Transmission Line right-of-way:

 Beginning at the common comer of Sections 28, 29, 32 and 33 in Township 1 North, Range 1
 West of the Willamette Meridian; thence West 318.2 feet; thence South 1100 feet to the
 center of the County Road; thence Southeasterly, along the center of the County Road, 426.5
 feet; thence Easterly 375.5 feet to a point 10 feet West of and 4 feet North of the intersection
 of the County Roads; thence North on County Road 1350 feet; thence West 422.5 feet to the
 point of beginning.

 EXCEPTING THEREFROM any portion lying within the boundaries of NW Cornell Road.




 TRUSTEE'S NOTICE OF SALE                                                                 PAGE4
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Exhibit 4
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                                       EXHIBITB
                            NOTICE TO RESIDENTIAL TENANTS

                The property in which you are living is in foreclosure. A foreclosure sale is
 scheduled for June 20, 2019. The date of this sale may be postponed. Unless the lender that is
 foreclosing on this property is paid before the sale date, the foreclosure will go through and
 someone new will own this property. After the sale, the new owner is required to provide you
 with contact information and notice that the sale took place.

                The following information applies to you only if you are a bona fide tenant
 occupying and renting this property as a residential dwelling under a legitimate rental
 agreement. The information does not apply to you if you own this property or if you are not a
 bona fide residential tenant.

                 If the foreclosure sale goes through, the new owner will have the right to
 require you to move out. Before the new owner can require you to move, the new owner must
 provide you with written notice that specifies the date by which you must move out. If you do
 not leave before the move-out date, the new owner can have the sheriff remove you from the
 property after a court hearing. You will receive notice of the court hearing.

                             PROTECTION FROM EVICTION

 IF YOU ARE A BONA FIDE TENANT OCCUPYING AND RENTING THIS
 PROPERTY AS A RESIDENTIAL DWELLING, YOU HA VE THE RIGHT TO
 CONTINUE LIVING IN THIS PROPERTY AFTER THE FORECLOSURE SALE
 FOR:

        1) 60 DAYS FROM THE DATE YOU ARE GIVEN A WRITTEN
        TERMINATION NOTICE, IF YOU HA VE A FIXED TERM LEASE; OR
        2) AT LEAST 30 DAYS FROM THE DA TE YOU ARE GIVEN A WRITTEN
        TERMINATION NOTICE, IF YOU HAVE A MONTH-TO-MONTH OR
        WEEK-TO-WEEK RENT AL AGREEMENT.

                If the new owner wants to move in and use this property as a primary
 residence, the new owner can give you written notice and require you to move out after 30
 days, even though you have a fixed term lease with more than 30 days left.

                You must be provided with at least 30 days' written notice after the foreclosure
 sale before you can be required to move.

                A bona fide tenant is a residential tenant who is not the borrower (property
 owner) or a child, spouse or parent of the borrower, and whose rental agreement:
                • Is the result of an arm's-length transaction;



 TRUSTEE'S NOTICE OF SALE                                                                PAGES
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Exhibit 4
Page 7 of 13         Case 19-31883-dwh11        Doc 517      Filed 12/16/21
                •   Requires the payment ofrent that is not substantially less than fair market
                    rent for the property, unless the rent is reduced or subsidized due to a
                    federal, state or local subsidy; and
                •   Was entered into prior to the date of the foreclosure sale.

                             ABOUT YOUR TENANCY
                    BETWEEN NOW AND THE FORECLOSURE SALE:
                                    RENT

            YOU SHOULD CONTINUE TO PAY RENT TO YOUR LANDLORD
 UNTIL THE PROPERTY IS SOLD OR UNTIL A COURT TELLS YOU OTHERWISE. IF
 YOU DO NOT PAY RENT, YOU CAN BE EVICTED. BE SURE TO KEEP PROOF OF
 ANY PAYMENTS YOU MAKE.

                                    SECURITY DEPOSIT

                You may apply your security deposit and any rent you paid in advance against
 the current rent you owe your landlord as provided in ORS 90.367. To do this, you must
 notify your landlord in writing that you want to subtract the amount of your security deposit
 or prepaid rent from your rent payment. You may do this only for the rent you owe your
 current landlord. If you do this, you must do so before the foreclosure sale. The business or
 individual who buys this property at the foreclosure sale is not responsible to you for any
 deposit or prepaid rent you paid to your landlord.

                               ABOUT YOUR TENANCY
                            AFTER THE FORECLOSURE SALE

                 The new owner that buys this property at the foreclosure sale may be willing to
 allow you to stay as a tenant instead of requiring you to move out after 90 days or at the end
 of your fixed term lease. After the sale, you should receive a written notice informing you that
 the sale took place and giving you the new owner's name and contact information. You
 should contact the new owner if you would like to stay. If the new owner accepts rent from
 you, signs a new residential rental agreement with you or does not notify you in writing
 within 30 days after the date of the foreclosure sale that you must move out, the new owner
 becomes your new landlord and must maintain the property. Otherwise:

                •   You do not owe rent;
                •   The new owner is not your landlord and is not responsible for maintaining
                    the property on your behalf; and
                •   You must move out by the date the new owner specifies in a notice to you.

             The new owner may offer to pay your moving expenses and any other costs or
 amounts you and the new owner agree on in exchange for your agreement to leave the

 TRUSTEE'S NOTICE OF SALE                                                                 PAGE6
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Exhibit 4
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 premises in less than 30 or 60 days. You should speak with a lawyer to fully understand your
 rights before making any decisions regarding your tenancy.

            IT IS UNLAWFUL FOR ANY PERSON TO TRY TO FORCE YOU TO
 LEA VE YOUR DWELLING UNIT WITHOUT FIRST GIVING YOU WRITTEN NOTICE
 AND GOING TO COURT TO EVICT YOU. FOR MORE INFORMATION ABOUT YOUR
 RIGHTS, YOU SHOULD CONSULT A LAWYER. If you believe you need legal assistance,
 contact the Oregon State Bar and ask for the lawyer referral service. Contact information for
 the Oregon State Bar is included with this notice. If you do not have enough money to pay a
 lawyer and are otherwise eligible, you may be able to receive legal assistance for free.
 Information about whom to contact for free legal assistance is included with this notice.

 HOW TO FIND A LA WYER: If you need help finding a lawyer, you may call the Oregon
 State Bar's Lawyer Referral Service at (503) 684-3 763, or toll free in Oregon at (800) 452-
 7636, or you may visit its website at vv,vw.osbar.org. Legal assistance may be available if you
 have a low income and meet federal poverty guidelines. For more information and a directory
 of legal aid programs, go to www.oregonlawhelp.org.




 TRUSTEE'S NOTICE OF SALE                                                                PAGE   7
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Exhibit 4
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I 1005 NW CORNELL LLC
#TEHERA/Fl
                                    AFFIDAVIT OF POSTING
STATE OF OREGON
County of Multnomah                         ss.

I, Kyle Berg, hereby certify and swear that at all times herein mentioned I was and now am a
competent person 18 years of age or older and a resident of the state wherein the service hereinafter
set forth was made; that I am not the beneficiary or trustee named in the original trustee's Notice of
Sale attached hereto, not the successor of either, nor an officer, director, employee of or attorney for
the beneficiary, trustee, or successor of either, corporate or otherwise.

I made service of the Letter To Whom It May Concern dated January 24, 2019; Trustee's Notice of
Sale; Exhibit A and B upon the individuals and/or entities named below, by delivering a copy of the
aforementioned documents, upon an OCCUPANT at the following "Property Address":
                                                  15005 NW Cornell Road
                                                   Beaverton, OR 97006
As follows:

On 01/24/2019 at 5:12 PM, I attempted personal service at the Property Address. I received no
answer at the front door and no one appeared to be home. At that time, I POSTED such true copy
conspicuously on the front door, pursuant to ORS 86.774 (l)(b)(A).

On 01/27/2019 at 3:47 PM, I returned to the Property Address and, again, received no answer at the
front door. At that time, I POSTED another such copy conspicuously on the front door, pursuant to
ORS 86.774 (l)(b)(B).

On 01/31/2019 at 5:20 PM, I returned to the Property Address and, again, received no answer at the
front door. This attempt in person at the Property Address satisfies the third attempt requirement
under ORS 86.774 (l)(b)(C).

I declare under the penalty of perjury that the above statement is true and correct.



SUBSCRIBED AND SWORN BEFORE ME
                                                            X
                                                            Kyle Berg
                                                                         @~
                           y
this~.;>.. lfl,t> day of M 4 20_!1_    ,                    Nationwide Process Service, Inc.


b~v~llbJ2
Notary Public for Oregon
                                                            300 Century Tower
                                                            1201 SW 12th Avenue
                                                            Portland, OR 97205
                                                            (503) 241-0636



                     OFFICIAL STAMP
               MITCH AARON WIRTH
                NOTARY PUBLIC-OREGON
                                                              11111 II Ill II   Ill II Ill II Ill 111111111111111
                                                                                    *342213*
                COMMISSION NO. 974861
           MY OOMMISISION EXPIRES MAY 16, 2022




    Exhibit 4
    Page 10 of 13              Case 19-31883-dwh11          Doc 517      Filed 12/16/21
I 1005 NW CORNELL LLC
#TEHERA!FI
                                  AFFIDAVIT OF MAILING

ST ATE OF OREGON
County of Multnomah                       ss.

I, Kyle Berg, being first duly sworn, depose and say that I am a competent person over the age of
18 years of age or older. On February 01, 2019, I mailed a copy of the Letter To Whom It May
Concern dated January 24, 2019; Trustee's Notice of Sale; Exhibit A and B, by First Class Mail,
postage pre-paid, to occupant, pursuant to ORS 86.774(1)(b)(C).

The envelope was addressed as follows:
                                                     OCCUPANT
                                                15005 NW Cornell Road
                                                 Beaverton, OR 97006


This mailing completes service upon an occupant at the above address with an effective date of
01/24/2019 as calculated pursuant to ORS 86.774 (l)(c).

I declare under the penalty of perjury that the above statement is true and correct.



SUBSCRIBED AND SWORN BEFORE ME
                                                          X
                                                          Kyle Berg
                                                                     wtG
this ~_:z"oQ day of {V} tlV , 201:i_                      Nationwide Process Service, Inc.

b~y15L,r
Notary Public for Oregon
                           w~-cY                          300 Century Tower
                                                          1201 SW 12th Avenue
                                                          Portland, OR 97205
                                                          (503) 241-0636


                                                            I IIII II Ill II Ill II*342213*
                                                                                     Ill II Ill 111111111111111
                     OFFICIAL STAMP
               MITCH AARON WIRTH
                NOTARY PUBLIC-OREGON
                COMMISSION NO. 97 4861
           MY COMMISSION EXPIRES MAY 16, 2022




   Exhibit 4
   Page 11 of 13           Case 19-31883-dwh11            Doc 517     Filed 12/16/21
                                                 AFFIDAVIT OF PUBLICATIO N


                                                                                                                OFFICIAL


                                               DJC
                             921 S.W. Washington St. Suite 210 / Portland, OR 97205-2810
                                                  (503) 226-1311
STATE OF OREGON, COUNTY OF MUL TNOMAH--ss.
I, Michelle Ropp , being first duly sworn, depose and say that I am a Principal Clerk of the Daily Journal of Commerce , a
newspaper of general circulation in the counties of CLACKAMAS, MULTNOMAH, and WASHINGTON as defined by ORS
193.01 O and 193.020; published at Portland in the aforesaid County and State; that I know from my personal knowledge that
the Trustee Sales notice described as

Case Number: NOT PROVIDED
15005 NW Cornell LLC; Date of Sale 06/20/2019 at 11 :00
15005 NW Cornell LLC in favor of Lender

a printed copy of which is hereto annexed, was published in the entire issue of said newspaper for 4 time(s) in the following
issues:

                4/5/2019                      4/12/2019                    4/19/2019                     4/26/2019




State of Oregon                                                                                    SEE EXHIBIT A
County of Multnomah


         SIGNED OR ATTESTED BEFORE ME
           ON THE 26th DAY OF April, 2019


                                                    ....

    j J Michelle Ropp
    ~~-e,
              Notary Public-State of Oregon




                       OFFICIAL STAMP
                   SELAH MICHELE FARMER
                   NOTARY PUBLIC - OREGON
                    COMMISSION NO. 959961
       MY COMMISSION EXPIRES FEBRUARY 27, 2021



Eleanor DuBay                                                                             Order No.:           11725418
Tomasi Salyer Baroway                                                                     Client Reference No:
121 SW Morrison St Ste 1850
Portland, OR 97204-3120



    Exhibit 4
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                                                                           EXHIBIT A
                                                 the point of beginning.                           in the above-described Property, which
TRUSTEE'S NOTICE OF SALE
                                                      EXCEPTING          THEREFROM          that   the granter had or had power to convey
   Reference is made to a certain trust
                                                 portion dedicated for right of way                at the time of the execution by grantor of
deed ("Trust Deed") made, executed and
                                                 purposes by Dedication Deed recorded              the said Trust Deed, together with any
delivered by 15005 NW Cornell LLC, an
                                                 August 29, 1994 as Fee No. 94079706.              interest which the grantor or grantor's
Oregon limited liability company, as
                                                      FURTHER EXCEPTING THEREFROM                  successors in interest acquired alter the
grantor,     to First American          Title
                                                 that portion acquired by State of Oregon,         execution of the Trust Deed, to partially
Company of Oregon, as trustee, in
                                                 by and through its Department of Trans-           satisfy the obligations thereby secured
favor of Tasha L. Dinihanian, as benefi-                                                           and the costs and expenses of sale,
                                                 portation in Stipulated Final Judgment of
ciary, dated February 1, 2016, and                                                                 including a reasonable charge by the
                                                 Washington           County      Case       No.
recorded on February 8, 2016, as
                                                 C90-0308CV, being recorded February               trustee.
Recording No. 2016-008669, in the mort-                                                               Notice is further given that any person
                                                 22, 1996 as Fee No, 96015341 and
gage records of Washington County,                                                                 named in ORS 86.778 has the right, at
                                                 further relinquished to Washington
Oregon. Tasha L. Dinihanian is now                                                                 any time prior to five days before the date
                                                 County, a political subdivision of the
known as Tasha Teherani-Ami.                                                                       last set for the sale, to have this
                                                 State of Oregon, by and through its
   The Trust Deed covers the following                                                             foreclosure proceeding dismissed and
                                                 Elected Officials in Relinquishment Deed
described real property ("Property'')                                                              the Trust Deed reinstated by payment to
                                                 recorded October 15, 2009 as Fee No.
situated in said county and state, to-wit:                                                         the beneficiary of the entire amount then
                                                 2009-091411,
   See Exhibit A attached hereto and                                                               due (other than such portion of the
                                                      AND FURTHER EXCEPTING THERE-
incorporated herein.                                                                               principal as would not then be due had
                                                  FROM any portion lying within the bound-
                   EXHIBIT A                                                                        no default occurred) and by curing any
                                                 aries of NW Cornell Road.
               Legal Description                                                                   other default complained of herein that is
                                                      PARCEL 111:
   THE LAND REFERRED TO HEREIN                        A tract of land located in the Southeast     capable of being cured by tendering the
BELOW IS SITUATED IN THE COUNTY                  one-quarter of Section 29 and the North-          performance          required      under    the
OF Washington, STATE OF OR, AND IS                east one-quarter of Section 32, Section          obligation or Trust Deed, and in addition
DESCRIBED AS FOLLOWS:                            29, Township 1 North, Range 1 West of             to paying said sum or tendering the
   AN UNDIVIDED 50% INTEREST IN                  the Willamette Meridian, in the County of         performance necessary to cure the
THE FOLLOWING DESCRIBED PROP-                     Washington and State of Oregon, being             default, by paying all costs and expenses
 ERTY:                                            more particularly described as follows:           actually incurred in enforcing the
    PARCEL I:                                         All that portion of the following             obligation and Trust Deed, together with
   A tract of land located in the Southeast                                                        trustee's      and     attorney's fees not
                                                  described tract lying West of the West
one-quarter of Section 29 and the North-          line of the Bonneville Transmission Line          exceeding the amounts provided by said
east one-quarter of Section 32, Section                                                             ORS 86.778.
                                                  right-of-way:
29, Township 1 North, Range 1 West of                 Beginning at the common corner of               In construing this notice, the singular
the Willamette Meridian, in the County of                                                           includes the plural, the word "granter"
                                                  Sections 28, 29, 32 and 33 in Township 1
Washington and State of Oregon, being             North, Range 1 West of the Willamette             includes any successor in interest to the
 more particularly described as follows:          Meridian; thence West 318.2 feet; thence          granter as well as any other person
    Beginning at a point in the center of the     South 11 00 feet to the center of the             owing an obligation, the performance of
 County Road 1162.85 feet West and                County Road; thence Southeasterly,                which is secured by said Trust Deed, and
 869.11 feet South of the Northeast corner        along the center of the County Road,              the words "trustee" and "beneficiary"
 of said Section 32; thence North 1 485.4         426.5 feet; thence Easterly 375.5 feet to         include their respective successors in
feet; thence East 182.85 feet; thence             a point 10 feet West of and 4 feet North          interest, if any.
 South 655 feet; thence Easterly 661 .8           of the intersection of the County Roads;            Without limiting the trustee's disclaimer
feet; thence South 1100 feet to the center        thence North on County Road 1350 feet;            of representations or warranties, Oregon
 of     the      County     Road;     thence      thence West 422.5 feet to the point of            law requires the trustee to state in this
 Northwesterly, along the center of the                                                             notice that some residential property sold
                                                  beginning.
 County Road, 173.5 feet; thence North-               EXCEPTING          THEREFROM           any    at a trustee's sale may have been used in
 westerly, along the center of the County         portion lying within the boundaries of NW         manufacturing methamphetamines, the
 Road, 240 feet; thence Northwesterly,                                                              chemical components of which are
                                                  Cornell Road.
 along said County Road, 551.35 feet to               There are defaults by the grantor or          known       to     be     toxic.   Prospective
 the point of beginning.                          other person owing an obligation, the             purchasers of residential property should
    TOGETHER WITH that portion of the             performance of which is secured by the            be aware of this potential danger before
 vacated County Road which inured                 Trust Deed, with respect to provisions            deciding to place a bid for this property at
 thereto by Resolution and Order No.                                                                the trustee's sale,
                                                  therein which authorize sale in the event
 95-35, recorded April 13, 1995 as Fee             of default of such provision; the defaults         The NOTICE TO                  RESIDENTIAL
 No. 95025673.                                    for which foreclosure is made is grantor's        TENANTS, attached hereto as Exhibit
    ALSO TOGETHER WITH that portion               failure to pay when due the following             B, is incorporated herein by reference.
 described in Bargain and Sale Deed                                                                 [Exhibit B, NOTICE TO RESIDENTIAL
                                                  sums:
 recorded April 13, 1995 as Fee No.                   Arrearage in the sum of $2,443,591.64         TENANTS, is not published pursuant
 95025675,                                         as of January 23, 2019, plus additional          to ORS 86.n4(2)(b).]
    EXCEPTING         THEREFROM           that
                                                   payments, property expenditures, taxes,             DATED: January 23, 2019.
 portion dedicated for right of way                liens, assessments, insurance, late fees,                                 /s/ Eleanor A DuBay
 purposes by Dedication Deed recorded
                                                   attorney's and trustee's fees and costs,                   Eleanor A DuBay, OSB #073755
 August 29, 1994 as Fee No. 94079706.              and interest due at the time of reinstate-                                        Authorized By:
    ALSO EXCEPTING THEREFROM that
                                                   ment or sale.                                                        Tomasi Salyer Martin PC,
 portion conveyed to Washington County                By reason of said defaults, the                                           Successor Trustee
 by Quitclaim Deed recorded April 13,              beneficiary has declared all sums owing                         1 21 SW Morrison, Suite 1 850
  1995 as Fee No. 9502567 4.                       on the obligations secured by said Trust                                    Portland, OR 97204
    FURTHER EXCEPTING THEREFROM
                                                   Deed immediately due and payable, said                                  Phone: 503-894-9900;
 any portion lying within the boundaries of
                                                   sums being the following, to-wit:                                            fax: 971-544-7236
  NW Cornell Road.                                     Payoff in the sum of $2,443,591.64 as         Published Apr. 5, 12, 19 & 26, 2019.
    PARCEL 11:                                     of January 23, 2019, plus taxes, liens,                                               11725418
    A tract of land located in the Southeast       assessments,        property expenditures,
  one-quarter of Section 29 and the North-          insurance, accruing interest, late fees,
  east one-quarter of Section 32, Section          attorney's and trustee's fees and costs
 29, Township 1 North, Range 1 West of
                                                    incurred by beneficiary or its assigns.
 the Willamette Meridian, in the County of            WHEREFORE, notice hereby is given
  Washington and State of Oregon, being
                                                   that the undersigned trustee will on June
  more particularly described as follows:
                                                   20, 2019, at the hour of 11 :OO a.m., in
    Beginning in the center of the County
                                                    accord with the standard of time
  Road, 1748.41 feet West and 875.55 feet
                                                    established by ORS 187.110, at the
  South of the Northeast corner of said
                                                   following place: Outside the Front
  Section 32; thence North 1490.7 feet;
                                                    Entrance of the Washington County
 thence Easterly 585.56 feet; thence
                                                    Courthouse, 145 N.E. 2nd Avenue,
  South 1485.4 feet to the center of the
                                                    Hillsboro, Oregon, sell at public auction
  County Road; thence Westerly, along the
  center of the County Road 585.56 feet to         to the highest bidder for cash the interest

               Exhibit 4
               Page 13 of 13                      Case 19-31883-dwh11                              Doc 517            Filed 12/16/21
                                 CERTIFICATE OF SERVICE

                 I hereby certify that on December 16, 2021 I served a copy of the foregoing

DECLARATION              OF   ELEANOR     A.   DUBAY     IN   SUPPORT       OF      HEARING

MEMORANDUM IN SUPPORT OF CREDITOR TASHA TEHERANI-AMI'S MOTION

FOR RELIEF FROM STAY RE: SKYLINE PROPERTY (237 NW Skyline Blvd.,

Portland, OR 97210) by electronic means using ECF to the parties listed below:

STEPHEN P ARNOT on behalf of U.S. Trustee US Trustee, Portland
steve.arnot@usdoj.gov
CHRISTOPHER N COYLE on behalf of Defendant Eagle Holdings LLC
chris@vbcattorneys.com, ecfmail@vbcattorneys.com

ELEANOR A. DUBAY on behalf of Creditor Tasha Teherani-Ami
edubay@tomasilegal.com, jramig@tomasilegal.com

ELEANOR A. DUBAY on behalf of Defendant Tasha Teherani-Ami
edubay@tomasilegal.com, jramig@tomasilegal.com

JOSEPH A FIELD on behalf of Attorney Sortis Holdings, Inc.
joe@fieldjerger.com, jenny@fieldjerger.com

RUSSELL D GARRETT on behalf of Creditor Alexander LLC
russ.garrett@jordanramis.com, patricia.repp@jordanramis.com;litparalegal@jordanramis.com

RUSSELL D GARRETT on behalf of Creditor Christiana LLC
russ.garrett@jordanramis.com, patricia.repp@jordanramis.com;litparalegal@jordanramis.com

RUSSELL D GARRETT on behalf of Creditor Cornell Rd LLC
russ.garrett@jordanramis.com, patricia.repp@jordanramis.com;litparalegal@jordanramis.com

RUSSELL D GARRETT on behalf of Creditor Lillian Logan
russ.garrett@jordanramis.com, patricia.repp@jordanramis.com;litparalegal@jordanramis.com

NICHOLAS J HENDERSON on behalf of Debtor 15005 NW Cornell LLC
nhenderson@portlaw.com,
tsexton@portlaw.com;mperry@portlaw.com;hendersonnr86571@notify.bestcase.com

NICHOLAS J HENDERSON on behalf of Debtor Vahan M. Dinihanian, Jr.
nhenderson@portlaw.com,
tsexton@portlaw.com;mperry@portlaw.com;hendersonnr86571@notify.bestcase.com

NICHOLAS J HENDERSON on behalf of Defendant Vahan M. Dinihanian, Jr.
nhenderson@portlaw.com,
tsexton@portlaw.com;mperry@portlaw.com;hendersonnr86571@notify.bestcase.com


CERTIFICATE OF SERVICE                                                          TOMASI SALYER MARTIN
TEHERA-B1\00615844.000                                                       121 SW Morrison Street, Suite 1850
                                                                                  Portland, Oregon 97204
                                                                                 Telephone: (503) 894-9900
                                                                                 Facsimile: (971) 544-7236
                         Case 19-31883-dwh11   Doc 517    Filed 12/16/21
NICHOLAS J HENDERSON on behalf of Jointly Administered Debtor Vahan M. Dinihanian,
Jr.
nhenderson@portlaw.com,
tsexton@portlaw.com;mperry@portlaw.com;hendersonnr86571@notify.bestcase.com

GREGORY J MINER on behalf of Creditor Bateman Seidel
gminer@batemanseidel.com, bsixberry@batemanseidel.com

BRUCE H ORR on behalf of Defendant Tasha Teherani-Ami, in her capacity as the trustee of
the Sonja Dinihanian GST Trust DTS 1/1/11
bho@wysekadish.com, tn@wysekadish.com;drw@wysekadish.com

BRUCE H ORR on behalf of Interested Party Tasha Teherani-Ami, in her capacity as the trustee
of the Sonja Dinihanian GST Trust DTS 1/1/11
bho@wysekadish.com, tn@wysekadish.com;drw@wysekadish.com

BRUCE H ORR on behalf of Plaintiff Tasha Teherani-Ami, in her capacity as the trustee of the
Sonja Dinihanian GST Trust DTS 1/1/11
bho@wysekadish.com, tn@wysekadish.com;drw@wysekadish.com

ERICH M PAETSCH on behalf of Creditor Columbia State Bank
epaetsch@sglaw.com, ktate@sglaw.com

DOUGLAS R PAHL on behalf of Debtor 15005 NW Cornell LLC
dpahl@perkinscoie.com, nlesage@perkinscoie.com;docketpor@perkinscoie.com

DOUGLAS R PAHL on behalf of Defendant 15005 NW Cornell LLC
dpahl@perkinscoie.com, nlesage@perkinscoie.com;docketpor@perkinscoie.com

DOUGLAS R PAHL on behalf of Interested Party 15005 NW Cornell LLC
dpahl@perkinscoie.com, nlesage@perkinscoie.com;docketpor@perkinscoie.com

DOUGLAS R PAHL on behalf of Plaintiff 15005 NW Cornell LLC
dpahl@perkinscoie.com, nlesage@perkinscoie.com;docketpor@perkinscoie.com

TROY SEXTON on behalf of Debtor Vahan M. Dinihanian, Jr.
tsexton@portlaw.com, nhenderson@portlaw.com,mperry@portlaw.com,troy-sexton-
4772@ecf.pacerpro.com

TROY SEXTON on behalf of Jointly Administered Debtor Vahan M. Dinihanian, Jr.
tsexton@portlaw.com, nhenderson@portlaw.com,mperry@portlaw.com,troy-sexton-
4772@ecf.pacerpro.com

DANIEL L STEINBERG on behalf of Creditor Alexander LLC
Daniel.Steinberg@jordanramis.com, Litparalegal@jordanramis.com

DANIEL L STEINBERG on behalf of Creditor Christiana LLC
Daniel.Steinberg@jordanramis.com, Litparalegal@jordanramis.com

DANIEL L STEINBERG on behalf of Creditor Cornell Rd LLC
Daniel.Steinberg@jordanramis.com, Litparalegal@jordanramis.com

DANIEL L STEINBERG on behalf of Creditor Lillian Logan
Daniel.Steinberg@jordanramis.com, Litparalegal@jordanramis.com
CERTIFICATE OF SERVICE                                                          TOMASI SALYER MARTIN
TEHERA-B1\00615844.000                                                       121 SW Morrison Street, Suite 1850
                                                                                  Portland, Oregon 97204
                                                                                 Telephone: (503) 894-9900
                                                                                 Facsimile: (971) 544-7236
                         Case 19-31883-dwh11   Doc 517    Filed 12/16/21
US Trustee, Portland
USTPRegion18.PL.ECF@usdoj.gov


                 DATED: December 16, 2021.

                                               TOMASI SALYER MARTIN


                                               By: /s/ Eleanor A. DuBay
                                                   Eleanor A. DuBay, OSB #073755
                                                   (503) 894-9900
                                                   edubay@tomasilegal.com
                                                   Of Attorneys for Tasha Teherani-Ami




CERTIFICATE OF SERVICE                                                        TOMASI SALYER MARTIN
TEHERA-B1\00615844.000                                                     121 SW Morrison Street, Suite 1850
                                                                                Portland, Oregon 97204
                                                                               Telephone: (503) 894-9900
                                                                               Facsimile: (971) 544-7236
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